UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                            6/25/21



  United States of America,

                 –v–
                                                                     20-CR-330 (AJN)
  Ghislaine Maxwell,
                                                                         ORDER
                         Defendant.


ALISON J. NATHAN, District Judge:

       The Court grants the Defendant’s request that going forward the Government shall only

file updates if there are any material changes to Ms. Maxwell’s conditions of confinement. See

Dkt. No. 300 at 1. In the absence of any other specific or supported application for relief from

the Defendant, the Court will take no further action at this time.


       SO ORDERED.

 Dated: June 25, 2021
        New York, New York                        ____________________________________
                                                            ALISON J. NATHAN
                                                          United States District Judge
